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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

  UNITED STATES OF AMERICA,                       )
                                                  )
       Plaintiff, _                               )
                                                  )
  v.                                              )   No. 4:22-cr-00058 HEA
                                                  )
  JAMES FURLOW,.                                  )
                                                  )
       Defendant.

                               GUILTY PLEA AGREE~NT

         The parties hereby agree, as follows:                                                       l.
                                                                                                    .l
 1. PARTIES:
                                                                                                     I
                                                                                                     I
                                                                                                     l
                                                                                                     l~
         The parties are Defendant James Furlow, represented by defense counsel Bevy

 Beimdiek, and the United States of America (hereinafter "United States" or "Government"),

 represented py the Office of the_ United States Attorney for the Eastern District of Missouri.

 This agreement does not, and is not intended to, bind any governmental office-or agency other

 than the United States Attorney for the Eastern District of Missouri. The Court is neither a .

 party to nor bound by this agreement.

 2. GUILTY PLEA:

         A~.    The. Plea: Pursuant to Rule 11(c)(1)(A), Federal Rules of Crinrinal Procedure,

 in exchange for Defendant's voluntary plea of guilty to Cou~ts One, Two, Three, Four, and

 Five of the Superseding Indictment, the United States agrees to dismiss Count Six (brandishing

 of a firearm in furtherance of a crime of violence) and that no further federal prosecution will


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 be brought in this District relative to Defendant's violations of federal law, known to the

 United States at this time, arising out of the events set forth in the Superseding Indictment.

        B.         The Sentence: The parties agree that the recommendations contained herein

 fairly and accurately set forth so'me guidelines that may be applicable to this case. Defendant

 fully under~tan4s that the crime to which a guilty plea is being entered into with respect to
              'I     .,   -                                       '




 Count Two requires a mandatory minimum term of imprisonment of seven years (84 months),

 while the-crime to which a guilty plea is being entered into with respect to Count Four requires

 a mandatory minimum term of ipiprisonment of ten years (120 months). Count$ Two and

 Four must run consecutive to each other and to any other term of imprisonment. The parties

 furth~r agree that tl:iat the United States will recommend a sentence at the low end of

 Defendant's U.S. Sentencing Guidelines range (combination of Total Offense Level and

 Criminal History Category) ultimately determined by the Court pursuant to ariy chapter qf the

 Guidelines, Title 18, United States Cod~, Section 3553, or any other p~ovision or rule of law

 not addressed herein.        Defen~ant may request a sentence below the U.S. Sentencing

 Guidelines range. The parties understand that the Court is neither a party to nor bound by

 .the Guidelines recommendations agreed to in this document.

 3. ELEMENTS:

        As to Counts One and Five, Defendant admits to knowingly ,violating Title 18, United . _
                                                                                             .
 States Code, Section 2119, and admits there is a factual basis for the plea and further fully

- understands that the elements of the crime are:

        (i)        Defendant took a motor-vehicle from the presenc_e of another;


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       . (ii)   Defendant did so by means of force and violence.or intimidation;

        (iii)   That the motor vehicle had been_ transported in interstate commerce; and

        (iv)    At or during the time Defendant took the motor vehicle he intended to· cause

                death or serious.bodily injury.

        As to Cc;mnt Two, Defendant admits to knowingly violating Title 18, United States .

 Code, Section 924(c), and. admits there is a factual basis for the plea and further fully

 understands that the elements of the crime are:

        (i)     Defendant committed the crime of carjacking as set forth in Count One of the

                Superseding Indictment; and

        (ii)    Defenda~t knowingly possessed and_ brandished a firearm in furtherance of that

                crime.

        As to Count Three, Defendant admits to knowingly violating Title 18, United States

 Code, Section 1951, and admits there is a factual basis for the plea. and ·further_ fully

 understands that the elements of the crime are:

        (i)     Defendant obtamed property, from a commercial establishment engaged in

                interstate or foreign commerce; ,

        (ii)    Defendant did so in the presence of another and against their will, through the

                wrongful use of actual or threatened force, violence, or fear of injury; and,

        (iii)   As a result of Defendant's actions, interstate commerce was obstructed,

                delayed, or affected.

        As to Count Four, Defendant admits to knowingly violating Title 18, United States •


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 Code, Section 924(c), and admits there is a factual basis for the plea and further fully

 understands that the elements of the crime are:

        (i)    Defendant committed the crime of armed robbery as set forth in Count 1bree               l'
                                                                                                        I
                                                                                                        ff

               of the Superseding Indictment; and                                                       I
        (ii)   Defendant knowingly possessed, brandished, and disc~arged a firearm in                   l
                                                                                                        I
                                                                                                         l
                                                                                                         !
               furtherance of that crime.
                                                                                                        .l'
 4. FACTS:

        The parties agree that the facts in this case are as follows an~ that the Go"\:ernment      \

 would prove these facts beyond a .reasonable doubt if the case were to go to trial. These facts

 may be considered as relevant conduct pursuant to Section 1B1.3:

        On December 26, 2021, at a location within the Eastern District of Missouri,

 Defendant James Furlow carjacked victim D.F., taking a 2017 Kia Sorrento (a· motor vehicle)

 from him, which had been transported in interstate commerce. Defendant did so by means

 of f◊-rce and violence or intimidation; in particular, he brandished a firearm to further the

 carjacking. At the time Defendant took the Ki_a ~orrento, he intended to cause death or serio{is

 bodily injury to D.F.

        Later that day (shortly after ~ttempting to break into an ATM by shooting it),

 Def~ndant and co-defendant Monya Jones robbed a Quick Mart in the Eastern District of

 Missouri. The Quick Mart was a commercial establishment engaged in interstate or foreign

 commerce and in the business of buying and selling articles and commodities that have been

 previously transported in interstate or foreign commerce. During the course of the robbery,


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                                   '
 Defendant shot store cletk K.B. in the mouth, n~cessitating surgery to remove the bullet. K.B.

 was seriously injured. Defendant and Jones then left the Quick Mart with store property,

 which had been taken from K.B. through actual force and against his will. As a result of             !
 Defendant and Jo.nes's actions, interstate commerce was obstructed, delayed, or affected.

 Defendant admits that he possessed, brandished, and discharged a firearm' in furtherance of
                                                                                                     II
                                                                                                      )
                                                                                                      ;
                                                                                                      s

                                                                                                      ll
 the armed robbery of the Quick Mart.

        A few days later, on December 30, 2021, at a location within the Eastern District of         Il
                                                                                                      !
 Missouri, Defendant James Furlow carjacked victim G.J., taking a 2021 Volkswagen Tiguan (a           I
                                                                                                      i
 motor vehicle) ·from him, which had been transported in interstate commerce. During the             I
                                                                                                     l
                                                                                                      ~


 robbery, Defendant displayed a gun and said, "Get out of the car ... I'll light you up." In doing   I
                                                                                                     -1
 so, Defendant used force and violence or intimidation; Defendant also intended to cause death
                                                            I



 or serious bodily injury to G.J. After the carjacking, Defendant fled from police in the Tiguan.

 Defendant eventually fled on foot as well and was apprehended in a basement. Investigators

 located·a pouch nearby Defendant with a black handgun, specifically, a Sarsilmaz CM9 Gen 2

 9mm gun: and Defendant's identification. Defendant also ha~ GJ.'s keys in his pocket

        Defendant was later identified by victim D.F. as the December 26, 2021, carjacker in a

 photo lineup. Furthermore, Defendant admitted to both of the carjackings described above.

 Defendant said that co-defendant Jones set up the first carjacking. Defendant ~so admitted

 that the app Jack'd was used to set up both carjackings. As discussed above, Defendant also

 now admits to the robbery of the Quick Mart. Defend~t fut:ther admits to his participation

 in an attempted ATM break-in shortly before the Quick Mart robbery.


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          Defendant's cell phone was seized after the robberies. Defendant's cell phone location

 data indicated that he was in the area of each of the three robberies (the two carjackings and
                   '               '

 the Quick Mart robbery) at around the time of the robberies.

 s-. STATUTORY PENALTIES:

          As to Counts One and Five, Defendant fully understands that the maximum possible

 penalty provided by law for the crime to which Defendant is pleading guilty is imprisonment

 of not more than fifteen years, a fine of not more than $250,000, or both such imprisonment

 and fine. The Court may also impose a period of supervised-release of not more than three

 years.

          As to Count Two, Defendant fully understands that the maximum possible penalty

 provided by law for the crime to which Defendant is pleading guilty is imprisonment of no

 less than 'seven years (84 months) and not more than life, a fine of not more than $250,000,

 or both such imprisonment'. and fine. The Court may also impose a period of supervised

 release of not more than five years. Defendant also ~y understands that the crime to which

 a ~ty plea is being entered requires a mandatory minimum term o_f imprisonment of at least

 seven years (84 months), which is required by law to nin ,conse,cutive to any other term of

 imprisonment.

          As to Count Three, Defendant fully understands .that the maximum possible penalty

 provided by law for the crime to which Defendant is pleading guilty is imprisonment of not

 more·than twenty years, a fine of not more than $250,000, or both su~h imprisonment and

 fine. The Court may also impose a period of supervised release of not more than three years.


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            )




        As to Count Four, Defendant fully understands that the maximum possible penalty

 provided by law for the crime to which Defendant is pleading guilty is imprisonment of no

 less than ten years (120 months) and not more than life, a fine of not more than $250,000, or

 both such imprisonment and fine. The Court may also impose a period of supervised release

 of not more than five years. Defendant also fully understands that the crime to which a guilty

 plea is being ~ntered requires a mandatory minimum term of imprisonment of at least ten

 ye~s (120 months), which is required by law to run consecutive to any term of imprisonment.

 6. U.S. SENTENCING GUIDELINES: 2021 MANUAL:

        Defendant understands that this offense is affected by the U.S. Sentencing Guidelines

 and the actual sentencing range is determined by both the Total Offense Level and the

 Criminal History Category. The parties agree that the following are the U.S. Sentencing

 Guidelines Total Offense Level provisions that apply.

       • A.    Offense Conduct

                          COUNTS ONE, THREE,AND FIVE

                                 COUNT ONE: Carjacking .

        (i)    Chapter 2 Offense Conduct:

               (a)    •Base Offense Level: The parties agr~e that the base offense level for .

 Count One is 20, as found in Section 2B3.1(a).

               (b)   Specific Offense Characteristics: The parties a_gree that the followii}g
                                                      c~ 'd"C)d">           ~ __ #        /
                                              Dne. \'                       'Ii     ~
 Specific Offense Characteristics apply to Coun~: 2 evels should be added pursuant to

• Secti~n 2B3.1(6)(5) because the offense involved carjacking.


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                           COUNT THIIBE: Hobbs Act Robbery

        (i)       Chapter 2 Offense Conduct:        _

                  (a)   Base Offense Level: The parties agree that the base offense level for

 Count Three is 20, as found in Section 2B3.1 (a).

                  (b)   Specific Offense Characteristics: The parties agree that the following

 Specific Offense Characteristics apply ~o Count Three: 6 _levels should be added pursuant to

 Section 2B3.1(b),(3)(C) because the victim experienced a perinanent and/or life-threatening

 bodily injury.

                                 COUNT FIVE: Carjacking

        (i)       Chapter 2 Offense Conduct:

                  (a)   Base Offense Level: The parties agree that the base offense level for

 Count Five is 20, as found in Section 2B3.1 (a).

                  (b)   Specific Offense Characteristics: The parties agree that the following

 Specific Offense Characteristics apply to Count Five: 5 levels should by added P\ttsuant to

 Section 2~3.1(b)(2)(C) because a firearm was brandished, and 2 levels should be_ added

 'pursuant to Section 2B3.1(b)(5) because the offense involved carjacking.

                  (c)   3C1.2 ·Enhancement: The parti.~s agree ~t 2 le~~ should be added

 pursuant to Section· 3C1.2 because defendant recklessly created a substantial risk of dea_th or

 serious bodily injury to another person in the course of fleeing from a law enforcement officer.

     OTHER CHAPTER THREE ADJUSTMENTS APPLICABLE Tq COUNTS
                     ONES, THREE, AND FIVE

        (i)       Grouping of Multiple Counts: Pursuant to 3D1.2(d) artd Application Note

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 6, the parries ag-ree that the two counts of carjacking and one count of interference with

 in~erstate or foreign commerce by robbery do not group.

        The parties agree that the Combined Offense Level should be determined as follows:

 Count One has an individual offense level of 22; Count Three has an individual offense level
                                                               I




 of 26, and. Co~t Five has an individual offense level of 29. As s?ch, ther~ are 2.5 units and

 the offense level is increased by 3 levels.

        (ii)    Acceptance of Responsibility: The parties agree that three levels should be

 deducted pursuant to Section 3E1.1(a) and (b), because Defendant has clearly demonstrnted

 acceptance of responsibility and ,timely notified the government of Defendant's intention to

 plead guilty. The parties agree that Defenda~t's eligibility for this deduction is :based upon

 information presently ~own. If subsequent to the taking of the guilty plea the government

 receives new evidence of statements or conduct by Defendant which it believes are

 inconsistent with Defendant's eligibility for this deduction, the government may present said

. evidence to the court, and argue that Defendant should not receive all or part of the deduction

 pursuant to Section 3E1.1, without violating the plea agreement.

  ESTIMATED TOTAL OFFENSE LEVEL FOR COUNTS'ONE, THREE, AND
                           . FIVE

        (i)     Total Offense Level: The parties estimate that the Total Offense Level for

 Counts One, Three, and Five (after determining a combined offense level and applicable

 adjustments) is 29. Depending on the underlying offense and Defendant's criminal history,

 Defendant could be a Career Offender pursuant to Section 4B1.1. If the Court finds

 Defendant is a Career Offender, the Total Offense Level may be higher and the Cru_ninal

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                                  I .




                        -          '
  History Category may be as high as Category VI. Defendant has .discussed these possibilities

  with defense counsel. Both parties reserve the right to argue that Defendant is or is not a

  Career Offender.

                                COUNTS TWO AND FOUR

      COUNT TWO: Brandishing a Firearm in Furtherance of a Crim~ of Violence

         (i)    Chapter 2 Offense Conduct: .

                (a)    Base Offense Level: As to Count Two, the parties recommend that

  the base offense level is found in Sentencing Guidelin~s Section 2K2.4(b). Defendant fully

  understands that Count Two· tequires that he serve a mandatory minimum term of

  impriso~ent of 84 months that will run consecutively to any other term of imprisonment.

                (b)    Specific Offense Characteristics: The parties agree that the following

  Specific Offense Characteristics apply to Count Two: None.

     COUNT FOUR: Discharging.a Firearm in Furtherance of a Crime of Violence

         (i)    Chapter 2 Offense Conduct:

         (a)    Base Offense Level:' As to C~unt Four, the parties recommend that the base

  offense level is found in Sentencing Guidelines Section 2K.2.4(b). Defendant fully understands

  that Count Four req~es he serve. a mandatory minimum t~rm of impris~nment of 120

  months that will rim consecutively to any other term of imprisonment.

         (b)    Specific Offense Characteristics:         The parties agree that the followipg

  Specific Offense Characteristics apply to Count Four: None .

    • CHAPTER THREE AND F,OUR ADJUSTMENTS TO COUNTS Two· AND
                 FOUR AND ESTIMATED GUIDELINES            •


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    \__          (ii)   Chapter 3 and 4_Adjustments; Pursuant to Sentencing Guidelines Section

          QK2.4(b), Chapters 3 and 4 of the Sentencing Guidelines do not apply to Counts Two and

          •Four. Therefore, as to Counts Two and Four, defendant is not entitled to the acceptance of

          responsibility reduction under Sentencing Guidelines Section 3E1.1.

                 (iii) • Estimated Guidelines:        The parties estimate that Defendant's guidelines

          sentence with respect to Cou11:t Two will be 84 month, and _Defendant's guidelines sentence .

          with respect to Count Four will be 120 months. The sentences imposed with respect to these

          counts must run consecutively to each other and to any other sentence, including any sentence

          imposed with respect to Counts (?ne, Three, ~nd Five. Depending on the underlying offense

          and Defendant's criminal history, Defendant could be a Career Offender pursuant to Section

          4B1.1. If the Court fuids Defendant is a Career Offender, the guidelines sentence may be

          higher and the Criminal History Category may be as high as Category VI. Defendat1t has

          discussed these possibilities ·with defense counsel Both parties reserve the right to argue that

/
          Defendant is or is not a Career Offender.

                           COUNTS ONE, TWO, THREE, FOUR, AND FIVE

                 A.     Criminal History:       The determination of Defendant's Criminal History

          Category shall be left to the Court. Either party may challenge, before and at sentencing, the

          finding of the Presente~ce Report as to :qefendant's criminals history and the applicable

          category. Defendant's criminal history is known to Defendant and is substantially available in

          the Pretrial Services Report.

                 B.     Effect of Parties' U.S. Sentencing Guidelines Analysis: The parties agree

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  that the Court is not bound by the Guidelines analysis agreed to herein. The parties may not

  have fore.seen all applicable Guidelines. The Court may, in its discretion, apply or not apply          .l
  any Guideline despite the agreement het;ein and the parties shall not be permitted to withdraw          II
  from the plea agreement. The Gover~ent recognizes it is bound by the specific agreements                 '!

  made herein, but reserves the right to answer any questions the U.S. Probation Office or the            I
                                                                                                          -l
  Court might have related to sentencing or present evidence at the Court's request

         7. WAIVER OF APPEAL AND POST-CONVICTION RIGHTS:

         A.         Appeal: Defendant has been fully apprised by defense counsel of Defendant's

  rights concerning appeal and fully understands the right to appeal the sentence under Title 18,

  United States Code, Section 3742.

         (i)        Non-Sentencing Issues:       The· parties waive all rights to appeal all non-

  jurisdictional, non-sentencing issues, including, but not limite~ to, any issues relating to pretrial

  motions, discovery and the guilty plea.

         (ii)       Sentencing Issues:     In the event the Court accepts the plea and, after
               '

 • determining a Sentencing Guidelin~s range, sentences the Defendant to a sentence wi~

  Defendant's Sentencing Guidelines range or below, then, as part of this agre~ment, the

  Defendant hereby waives all rights to appeal all sentencing issues ,other than Criminal History.

  Similarly, the United. States hereby waives all rights to appeal all sentencing issues other than

  Criminal History, provided the Court accepts the plea and sentences the Defendant to a

  sentence within his Sentencing Guidelines range or above.

         B.        _ Habeas Corpus: Defendant agrees t? waive all rights to contest the conviction



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                                                                                                        iI
  or sentence in any post-convictioD: proceeding, including one._pursuant to Title 28, United

 . States Code, Section 2255, •except for claims of prosecutorial misconduct or ineffective             II
  assistance of counsel.

         C.      Right to Records: Defendant waives all rights, whether asserted directly or by

  a representative, to request from any department or agency of the United States any records

  pertaining to the ·inv~stigation or prosecution of this case, including any records that may be

  sought under the Freedom of Information Act, Title 5, United States Code, Section 522, •or

  the Privacy Act, Title 5, United States Code,'Section 552(a).

  8. OTHER:

         A.      Disclosures Required by the United States Probation Office: Defendant

  agrees to truthfully complete and sign forms as required by the United States Probation Office
                                                                                       /

  prior to sentencing and consents to the releas~ of these forms and any supporting

  documentation by the U~ted States Probation Office to the government.

                 Civil or Administrative Actions not Barred; . Effect· on Other

  Governmental Agencies: Nothing contained herein limits the rights and authority of the
                      .
  United· States to take any civil, tax, irrupigration/deportation or administrative action against .

  Defendant.·

         C.      Supervised Release: Pursuant to any supervised release term, the Court will

  impose standard conditions upon Defendant and may impose special conditions related to the

  crime defendant committed.      These conditions will be restrictions on Defendant to which
                                                                        'I                    •

  Defendant. will be reguired to adhere. Viola ti.on of the conditions of supe.tvised release


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 •resulting in revocation may require Defendant to serve a term of imprisonment equal to the

  length of the term of supervised release, but not greater than the term .set forth in Title 18,

  United States Code, Section 3583(e)(3), without credit for the time serve4 after release.

  Defendant understands that parole has been abolished.

         D.       Mandatory Special Assessment: Pri:tsuant to Title 18, United States Code,

  Section 3013, the Court is requited to impose a mandatory special assessment of $100 per

  count for a total of $500, which Defendant agrees to pay at the time of sentencing. Money •
              '                        /                                                 '

  paid by Defendant toward any restitution or fine imposed by the Court shall be first used to

  pay any unpaid mandatory special assessment.

                  Possibility of Detention: Defendant may be subject to immediate detention

  pursuant to _the provisions of Title 18, United States Code, Section 3143.

         F.       Fines, Restitution and Costs of Incarceration and Supervision: The Court

 • may impose a fine, costs of incarceration and costs of supervision. Defendant agrees that any

  fine imposed by the Court will be due and payable immediately. In addition, the Court_may

  impose restitution. (in addition to any penalty authorized by law) which will also_ be due and

  payable immediately. Pursuant to Title 18, United States Code, Section 3663A, an order of
                                                                       . '.'
  restitution is mandatory for all crimes listed in ,Section 3663A(c). Regardless of the Count of

  conviction, the amount of mandatory restitution imposed shall include all amounts allowed by

  Section 3663A(b) and the amount of loss-agreed to by the parties, including all relevant

  conduct loss. Defendant. agrees to provide full restitution to all victims of all charges in the

  Indictment.


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         G.      Forfeiture: Defendant knowingly and voluntarily waives any right, title, and             l
                                                                                                          I
                                                                                                          !
  interest in all items seized by law enforcement officials during the course of their investigation,     I
  whether or not they are subject to forfeiture, and agrees not to contest the vesting of title of
                                                                                                         I
                                                                                r                        I
  such items in the Un).ted States. Defendant agrees that said items may be disposed of by law

  enforcement officials in any manner.                                                                    l
                                                                                                         '1
  9. ACKNOWLEDGMENT AND WAIVER OF DEFENDANT'S RIGHTS:                                                    1
                                                                                                         !



         In pleading guilty, Defendant acknowledges, fully understands and hereby waives his

  rights, including but not limited to: the right to plead not guilty to the charges; ,the right to be

  tried by a jury in a public and speedy trial; the right to file pretrial motions, including motions

  to suppress or exclude evidence; the right at such trial to a presumption of innocence; the right

  to require the government to prove the elements of the offens~s charged against Defendant

  beyond a reasonable doubt; the right not to testify; the right not to present any evidence; the

  right to be protected from compelled self-incrimination; the right at trial to confront and cross-

  examine adverse witnesses; the right to testify and present evidence and the right to compel

  the attendance of witnesses. Defendant further understands that by this guilty plea, Defendant

  expressly waives all the rights set forth in this paragraph.

         Defendant fully understands that Defendant has the right to be· represented by counsel,

  and if. necessary, to have the Court appoint counsel at trial and at every other stage of the

  proceeding. Defendant's counsel has explained these rights and the consequences of the

  waiver of these rights. Defendant fully understands that, as a result of the guilty plea, no trial

 .will, in fact, occur and that the only action remaining to be taken in this case is the imposition


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 ' of the sentence.

         Defendant is fully satisfied with the representation -received. from defense counsel

  Defendant has reviewed the government's evidence and discussed the government's case and

  all possible defenses and defense witnesses with defense counsel. • Defense counsel has

  ,completely and satisfactorily explored. all areas which Defendant h~s ·requested relative to the

  government's case and any defenses.

        · The guilty plea could impact defendant's immigration status or result in deportation.
                                                                   I



  In particular, if any crime to which defendant is pleading guilty is an ''aggravated felony" as

  defined by Title 8, United States Code, Sectio~ 1101(a)(43), removal or deportation is

  presumed mandatory. Defense counsel has advised Defendant of the possible immigration

  consequences, including deportation, resulting from the plea.

  10. VOLUNTARY NATURE OF THE GUILTY PLEA AND PLEA AGREEMENT:

        . This document constitutes the • entire agreement . betwd:n Defendant and the

  government, and no other promises or inducements have been made, qitectly or indirectly, by

  any agent of the government, including any Department of Justice attorney, concerning any

  plea to be entered in this case. In·addition, Defendant states that no per~on has, directly or

  indirectly, threatened or coerced Defendant to do or refrain ~om doing anything in

  connection with any aspect of this case~ including entering a plea of guilty.

         Defendant acknowledges having voluntarily entered into b_oth the plea agreement and

  the guilty plea. Defendant further acknowledges that this guilty plea is made of Defendant's

  own free will and that Defendant is, in fact, guilty.


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  1.L CONSEQUENCES OF. POST-PLEA MISCONDIJGT;

         After :pi~ading .guilty and/before senfehtirt& it defenifant cqmmits any crime, o'ther
  iha:ri,hl1QQ!b:#lit Qffen~e~, violates any conc:Htioo.s of release thattesµlts,.m revocation, violates

  any terfu dr this· guilty-plea .agte<:?.tn~t; fatentionally provides misle.a:d#ig, .in,co1µplete or

  untruthful inforihation: to· the U.S.-· Rrobation, Office or fails to appear for sentencing, the

  Ptrlted $~tes, at:1ts option, may be· releijs¢d fro~ it~ obl,igatj.011s. under this, agi;eement, The
  -Go-v:emment·miy ~so, fu its disei:etlon~ proceed with tl;tis -~gte~:tJJ,t!nt and may advocate Jot

  an.y :segtenc::hig l:1qaj.tio,n' ~upporled by the. facts~ indudiiit{ bµt nqt· lipµt~cl to obsttuctlon: 6f
  j:ustlce: and-denial or accep~nte 9frespo11s1bllity.

  :i2. NO·RIGH1' TO WITHDRAW· GUILTY PLEA:
         P:utsuant; to R,;i:Je H(c)' .a:p;d :(q), Federal Rules oaf :Crifuinal P;toc~.d:ure, .Defet:1dant

  WJ.c:le,rstancis that thete will be. no tlght·tq. withdraw the p~ea entered under 'this agreement;

  et:cept w.p:ere·the Courtrejects those:p.ortioQ.s of the plea a$feementwhich deal ,with ch~ges




                                                     Attotne,r for Defendant:




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